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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

International Code Council, Inc., et al.
                                             Plaintiff,
v.                                                           Case No.: 1:24−cv−04998
                                                             Honorable John F. Kness
DrJ Engineering, LLC, et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 25, 2024:


       MINUTE entry before the Honorable John F. Kness: The motion to withdraw [31]
by counsel for Defendants, which Defendants themselves apparently do not oppose, is
granted. Substitute counsel must file an appearance on or before 11/8/2024. Defendants
are reminded that corporations and other limited liability entities cannot appear pro se. If
these Defendants do not obtain substitute counsel, they will risk suffering a default
judgment. Mailed notice. (exr, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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